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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                   JACKSON DIVISION
True the Vote, Jane Coln, Brandie           §
Correro, Chad Higdon, Jennifer Higdon,      §
Gene Hopkins, Frederick Lee Jenkins,        §
Mary Jenkins, Tavish Kelly, Donna           §
Knezevich, Joseph Knezevich, Doris Lee, §
Lauren Lynch, Norma Mackey, Roy             §
Nicholson, Mark Patrick, Julie Patrick,     §
Paul Patrick, David Philley, Grant          §
Sowell, Sybil Tribble, Laura                §
VanOverschelde, and Elaine Vechorik         §
                                            §
       Plaintiffs,                          §
v.                                          §
                                            §
The Honorable Delbert Hosemann, in his §
official capacity as Secretary of State for §
the State of Mississippi, The Republican    §
Party of Mississippi, Copiah County,        §
Mississippi Election Commission, Hinds §         Cause No. 3:14-cv-00532-NFA
County, Mississippi Election                §
Commission, Jefferson Davis County,         §
Mississippi Election Commission,            §
Lauderdale County, Mississippi Election §
Commission, Leake County, Mississippi       §
Election Commission, Madison County,        §
Mississippi Election Commission, Rankin §
County, Mississippi Election                §
Commission, Simpson County,                 §
Mississippi Election Commission, and        §
Yazoo County, Mississippi Election
Commission
      Defendants.
             PLAINTIFFS’ TRUE THE VOTE, ET.AL.’S MOTION FOR
                      PARTIAL SUMMARY JUDGMENT

TO THE HONORABLE DISTRICT COURT:

       Plaintiffs True the Vote, et. al. respectfully move for summary judgment pursuant to

Fed. R. Civ. P. 56(a) on their claims under the Public Disclosure Provision of the National Voter
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Registration Act (“NVRA”), 42 U.S.C. § 1973gg et seq. Specifically, Plaintiffs requested and

were denied access to complete voter rolls, voter pollbooks, absentee ballot applications and

envelopes and federal post card (collectively the “Requested Records”) immediately prior to and

following the 2014 Mississippi Republican Primary Run-Off Election.

       Whether the Requested Records must be produced under the NVRA is a question of law

on which no material facts are in dispute. The NVRA’s Public Disclosure Provision requires that

the Requested Records be made available to the public for inspection and, where available,

photocopying, because they are “records concerning the implementation of programs or activities

conducted for the purpose of ensuring the accuracy and currency of official lists of eligible

voters.” 42 U.S.C. § 1973gg-6(i). Defendants have unlawfully denied Plaintiffs access to these

records in violation of the NVRA, relying on Mississippi state law. However, state law must

yield to federal enactments when the laws conflict.

       Plaintiffs submit the attached Memorandum in Support of their Motion for Summary

Judgment detailing the grounds supporting summary judgment along with the following exhibits:

EXHIBIT 1             Excerpts from July 24, 2014 Evidentiary Hearing

EXHIBIT 2             Declaration of Catherine Engelbrecht

EXHIBIT 3             Declaration of Julia Hoenig and Incident Reports

EXHIBIT 4             Declaration of Mike Rowley and Incident Reports

EXHIBIT 5             Declaration of Jeanne Webb and Incident Reports

EXHIBIT 6             Declarations of John Hobson and Karen Hobson and Incident Reports

EXHIBIT 7             Declaration of Sandy Steinbacher and Incident Reports

EXHIBIT 8             July 8, 2014 Letter from Madison County Circuit Clerk

EXHIBIT 9             Declaration of Roberta Swank and Incident Reports


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EXHIBIT 10           Declaration of Melinda Kinley and Incident Reports

EXHIBIT 11           Declaration of Ruth Wall and Incident Reports

EXHIBIT 12           Declaration of Susan Morse and Incident Reports

EXHIBIT 13           Declaration of Roy Nicholson

EXHIBIT 14           Declaration and Affidavit of Phil Harding

EXHIBIT 15           July 26, 2014 E-Mail Correspondence from Amanda Frusha

EXHIBIT 16           Press Release from The Honorable Delbert Hosemann

EXHIBIT 17           Attorney General Opinion No. 94-0699 dated November 2, 1994

EXHIBIT 18           E-Mail Correspondence from Kimberley Turner

EXHIBIT 19           Administrative Regulations of Secretary of State

EXHIBIT 20           Example VR-28 Report for June 3 Primary

EXHIBIT 21           Example VR-28 Report for June 24 Primary

EXHIBIT 22           Example pollbook from Jefferson Davis County

EXHIBIT 23           Example pollbook from Jefferson Davis County


      Based on the uncontroverted evidence cited herein and under the plain meaning of the

NVRA, Plaintiffs’ motion for summary judgment should be granted.

      Dated: August 6, 2014




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                                         Respectfully Submitted,

                                          L. Eades Hogue



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                           CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2014 a copy of the forgoing, Plaintiffs
Memorandum in Support of the Summary Judgment and its exhibits were served on The
Honorable Delbert Hosemann, The Republican Party of Mississippi; The Copiah County
Mississippi Election Commission; the Hinds County, Mississippi Election Commission;
the Jefferson Davis County, Mississippi Election Commission; the Lauderdale County,
Mississippi Election Commission, the Leake County Mississippi Election Commission;
the Madison County, Mississippi Election Commission and the Rankin County
Mississippi Election Commission; via the Court’s ECF e-file service. Plaintiffs have
served the remaining Defendants, who have not yet registered to the Court’s ECF system
for this matter, via United States Postal Service, in accordance with Federal Rules of
Civil Procedure.

                                              /s/   L. Eades Hogue




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